                    SIXTH DISTRICT COURT OF APPEAL
                           STATE OF FLORIDA
                          _____________________________

                               Case No. 6D2023-1791
                           Lower Tribunal No. 20-CF-15073
                          _____________________________

                                       JOSEPH SETZER,

                                         Appellant,
                                             v.

                                  STATE OF FLORIDA

                                          Appellee.
                          _____________________________

Appeal pursuant to Fla. R. App. 9.141(b)(2) from the Circuit Court for Orange County.
                            Patricia L. Strowbridge, Judge.

                                       August 27, 2024

  PER CURIAM.

        AFFIRMED.

  TRAVER, C.J., and WOZNIAK and SMITH, JJ., concur.


  Joseph Setzer, Indiantown, pro se.

  Ashley Moody, Attorney General, Tallahassee, and Allison L. Morris, Assistant
  Attorney General, Daytona Beach, for Appellee.


    NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
             AND DISPOSITION THEREOF IF TIMELY FILED
